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WESTERN I)ISTRICT 0F TENNESSEE 05 JUH -9 Pti 2t L»U

Western Division .
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AM cLEna<. u.s. o:sr. _or.
UNITED STATES OF ERICA W,D. C)F T`t~i. E=£EMFWS

-vs- Case No. 04-20432-Ml

AARON HOPE

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECT|ONS REGARD|NG DETENT|ON

AARON HOPE is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. AARON HOPE shall be afforded a reasonable opportunity for private
consultation with defense counsel On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for

the purpose of an appearance in connection With a Court proceeding
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Date: ' b ,¢\ (', 80 O> Y\

N PHIPPS McCALLA
ED STATES DISTRICT JUDGE

 

 

 

Tnis document entered on the docket sheet ln compliance
with Hule 55 andfor 3211)} FRCrP on ‘ -'

   

UNITED sTATE DISTRIC COUR - WE TER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20432 Was distributed by faX, mail, or direct printing on
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Honorable .l on McCalla
US DISTRICT COURT

